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IN THE UNITED STATES BANKRUPTCY COURT — OR | G | NAL

. Case eo Doc 749 Filed 07/27/01

FOR THE DISTRICT OF DELAWARE

. NUE oF Loe oo
: Chapter 11
In re: :
: Case No. 01-01139 (JJF)
W.R. GRACE & CO., et al., :
: (Jointly Administered)
Debtors. :

SUPPLEMENTAL AFFIDAVIT AND DISCLOSURE ON BEHALF OF
FTI POLICANO & MANZO PURSUANT TO RULES 2014(a) AND 2016(a) OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE

STATE OF NEW JERSEY _ )
)ss.
COUNTY OF BERGEN )

EDWIN N. ORDWAY, JR., being duly sworn, deposes and says:

l. Iam a Managing Director of FTI Policano & Manzo, (“FTI P&M”), an operating
unit of FTI Consulting, Inc. (“FTI”), and I am duly authorized to make this affidavit on behalf of
FTI P&M. FTI P&M provides financial consulting services for restructuring matters and has its

The Debtors consist of the following 62 entities: W.R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc.
(f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food N Fun Company, Darex
Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five
Alewife Boston Ltd., GC Limited Partners |, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a
Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester
New Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company , Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace
H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn
International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated,
Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.R. Grace Capital Corporation, W.R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square
Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc.
(f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, [nc.), Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc.,
Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West
Coal Company, and H-G Coal Company.

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6 e
principal office at Park 80 West Plaza I, Saddle Brook, New Jersey.

2. On May 17, 2001, FTI P&M filed an Application for Retention of FTI P&M as
Financial Advisors to the Official Committee of Unsecured Creditors (the “Committee”).

3. In support of the Application, FTI P&M filed an Affidavit in accordance with
Rules 2014(a) and 2016(a) of the Federal Rules of Bankruptcy Procedure (the “Original
Affidavit”). The Order granting the Application was signed by this Court on June 21, 2001.

4, I incorporate in this Supplemental Affidavit all the statements made in the
Original Affidavit which was filed with this Court on May 17, 2001.

5. Following the filing of the Original Affidavit, I was informed that FTI P&M has
in the past been and currently is represented by Duane, Morris & Heckscher LLP (hereinafter
“DM&H”), the Committee’s local counsel, in unrelated matters.

6. Based on this firm’s ongoing relationship with DM&H, DM&H was asked to
review a proposed Confidentiality Agreement between the Debtor and FTI P&M on an emergent
basis as a condition to permitting FTI P&M access to the books and records of the Debtor in this
case.

7. FTI P&M did execute and deliver to the Debtor the Confidentiality Agreement
and did provide a copy of that Agreement to Stroock & Stroock & Lavan LLP, the Committee’s
co-counsel in this case.

8. Based upon the preceding information, the Original Affidavit and this

Supplemental Affidavit, I believe that FTI P&M does not hold or represent an interest adverse to

the Debtors’ estates in the matters upon which FTI P&M is to be employed, and FTI P&M is

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“disinterested” as that term is defined in §101(14) of the Bankruptcy Code, as modified by

§1107(b) of the Bankruptcy Code.

DATED: July 24, 2001 LA es

Edwin N. Ordway, J

Sworn to before me this
7d day of July, 2001

Notary Pubh
NWK\26430.1

KATHIE JOZANOVIC

NOTARY PUBLIC OF NEW JERSEY
COMMISSION EXPIRES 09/11/05

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. Grace & Co., et al., ) Case No. 01-01139 (JF)
)
) Jointly Administered
Debtors. )
)
CERTIFICATE OF SERVICE

I, William K. Harrington, Esquire, certify that I am not less than 18 years of age, and that
service of a copy of the attached Supplemental Affidavit And Disclosure On Behalf Of FTI
Policano & Manzo Pursuant To Rules 2014(a) And 2016(a) Of The Federal Rules Of
Bankruptcy Procedure was made July 27, 2001, upon:

All of the parties indicated on the attached Service List by first
class mail, postage prepaid, or as otherwise indicated.

Under penalty of perjury, I declare that the foregoing is true and correct.

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Date William K. Harrington

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